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             Exhibit M
                       to Hawkins Declaration

Plaintiffs’ Reply in Further Support of Motion for Class Certification


   Michelo et al. v. Nat’l Collegiate Student Loan Trust 2007-2 et al., No. 18-CV-1781
   Bifulco et al. v. Nat’l Collegiate Student Loan Trust 2004-2 et al., No. 18-CV-7692
    Case 1:18-cv-07692-PGG-BCM Document 264-13 Filed 09/13/21 Page 2 of 4
                                 Jonathan Boyd
                               February 10, 2021

· · · · · UNITED STATES DISTRICT COURT

· · · · · SOUTHERN DISTRICT OF NEW YORK

· · · · · -----------------------------------x

· · · · · MICHELO, et al.,

· · · · · BIFULCO, et al.,· · · · · · · · · Case No.

· · · · · · · · · · · · · Plaintiffs,· · · ·18 Civ. 1781

· · · · · · · ·- vs -· · · · · · · · · · · ·18 Civ. 7692

· · · · · NATIONAL COLLEGIATE STUDENT

· · · · · LOAN TRUST 2007-2, et al.,

· · · · · NATIONAL COLLEGIATE STUDENT

· · · · · LOAN TRUST 2004-2, et al.,

· · · · · · · · · · · · · Defendants.

· · · · · -----------------------------------x

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· · · · · · · ·VIDEOCONFERENCE DEPOSITION OF

· · · · · · · · · · ·JONATHAN BOYD

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· · · · · · · · · · ·February 10, 2021

· · · · · · · · · 10:03 a.m. - 3:55 p.m.

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· · · · ·Job No.:· 342643

· · ·Reported by Roberta Caiola


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·1· · · · that's in that paragraph.

·2· · · · · · ·Q.· · Okay.· So we're on the same page

·3· · · · about what schedule, and this has Schedule 2,

·4· · · · okay?

·5· · · · · · ·A.· · Yes.

·6· · · · · · ·Q.· · Got it.· So according to this, and

·7· · · · according to your understanding, there is some

·8· · · · Schedule 2 that lists whatever loans may have

·9· · · · been transferred from Bank One to National

10· · · · Collegiate Funding LLC, is that right?

11· · · · · · · · · ·MR. SCHULTZ:· Objection.

12· · · · · · ·A.· · Yes.

13· · · · · · ·Q.· · Where do you look for Schedule 2?

14· · · · · · · · · ·MR. SCHULTZ:· Objection.

15· · · · · · ·A.· · It's on our server.

16· · · · · · ·Q.· · Is there anything on this document

17· · · · that says that Schedule 2 is on TSI/NCO's

18· · · · server?

19· · · · · · · · · ·MR. SCHULTZ:· Objection.

20· · · · · · ·A.· · No.

21· · · · · · ·Q.· · Is there anything on this document

22· · · · that references the location of the schedule?

23· · · · · · ·A.· · No.

24· · · · · · ·Q.· · Have you ever seen a pool supplement

25· · · · before that does reference the location of the


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                              February 10, 2021

·1· · · · schedule?

·2· · · · · · · · · ·MR. SCHULTZ:· Objection.

·3· · · · · · ·A.· · No.

·4· · · · · · ·Q.· · I'm scrolling down to TSI 88, page

·5· · · · 10 of this PDF that's Exhibit 4.· There's a

·6· · · · document that appears to have the heading

·7· · · · "Deposit and Sale Agreement Trust 2004-2," am I

·8· · · · reading that right?

·9· · · · · · ·A.· · Yes.

10· · · · · · ·Q.· · Does this document have any part in

11· · · · the chain of assignment?

12· · · · · · ·A.· · Yes.

13· · · · · · ·Q.· · And what is that?

14· · · · · · ·A.· · This document shows the transfer of

15· · · · the loan from National Collegiate Funding LLC

16· · · · to the trust.

17· · · · · · ·Q.· · Do you see under Article I there's a

18· · · · reference to the student loans listed on

19· · · · Schedule 2?

20· · · · · · ·A.· · I'm sorry, you broke up.· Can you

21· · · · repeat that question?

22· · · · · · ·Q.· · Sure.· Do you see under Article I on

23· · · · TSI 88 there's a reference to the student loans

24· · · · listed on Schedule 2?

25· · · · · · ·A.· · Yes.


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